Case 6:20-cr-00097-GAP-LRH Document 108 Filed 05/17/21 Page 1 of 1 PagelD 443

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

VS. CASE NO: 6:20-cr-97-GAP-LRH

JOEL MICAH GREENBERG

 

CONSENT TO INSTITUTE A PRESENTENCE INVESTIGATION
AND DISCLOSE THE REPORT BEFORE CONVICTION OR PLEA OF GUILTY

I, Joel Micah Greenberg, hereby consent to a presentence investigation by the probation
officers of the United States district courts. I understand and agree that the report of the
investigation will be disclosed to the judge and the attorney for the government, as well as to me

and my attorney, so that it may be considered by the judge.

Dated: FI ToL LL
Joel Mi¢¢h Greefiberg

pated: t a MI

Counsel fo; Defendant
